     Case: 1:22-cv-00621 Document #: 33 Filed: 06/08/22 Page 1 of 20 PageID #:399




                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION


BUFFALO PATENTS, LLC,                   )
                                        )
                    Plaintiff,          )
v.                                      )         Case No.: 1:22-cv-00621
                                        )
MOTOROLA MOBILITY LLC,                  )         Judge Charles P. Kocoras
                                        )
                    Defendants.
                                        )
                                        )

DEFENDANT MOTOROLA MOBILITY LLC’S MOTION FOR PARTIAL JUDGMENT
                     ON THE PLEADINGS
       Case: 1:22-cv-00621 Document #: 33 Filed: 06/08/22 Page 2 of 20 PageID #:400




                                                  TABLE OF CONTENTS

                                                                                                                                      Pages

I.       Summary of Argument ........................................................................................................1

II.      Factual Summary .................................................................................................................3

         A.         Summary of the VOIP Patents .................................................................................3

         B.         Claims of the VOIP Patents .....................................................................................5

III.     Legal Standard .....................................................................................................................7

         A.         Rule 12(c) Is the Proper Procedural Vehicle to Dismiss Counts I-IV .....................7

         B.         Patent-Ineligible Subject Matter under Section 101 of the Patent Act ....................7

IV.      Argument .............................................................................................................................9

         A.         Alice Step 1: The Claims Are Directed to An Abstract Idea .................................10

         B.         Under Alice Step 2, The Claims Lack an Inventive Concept ................................14

V.       Conclusion .........................................................................................................................16




                                                                      i
     Case: 1:22-cv-00621 Document #: 33 Filed: 06/08/22 Page 3 of 20 PageID #:401




                                               TABLE OF AUTHORITIES

                                                                                                                                   Pages

Cases

A. Zahner Co. v. Hendrick Metal Prods, LLC,
   328 F. Supp. 3d 870 (N.D. Ill. 2018) .......................................................................................... 7

Accenture Glob. Servs., GmbH v. Guidewire Software, Inc.,
  728 F.3d 1336 (Fed. Cir. 2013) .................................................................................................. 6

Adaptive Streaming Inc. v. Netflix, Inc.,
  836 F. Appx. 900 (Fed. Cir. 2020)...................................................................................... 11, 12

Affinity Labs of Tex., LLC v. Amazon.com Inc.,
  838 F.3d 1266 (Fed. Cir. 2016) .................................................................................................. 9

Alice Corp. Pty. Ltd. v. CLS Banks Int’l,
  573 U.S. 208 (2014) ........................................................................................................... passim

Ashcroft v. Iqbal,
  556 U.S. 662 (2009) .................................................................................................................... 7

Atos, LLC v. Allstate Ins. Co.,
  2021 WL 6063963 (N.D. Ill. Dec. 22, 2021) .............................................................................. 7

British Telecommunications PLC v. IAC/InterActiveCorp,
  381 F. Supp. 3d 293 (D. Del. 2019) .................................................................................... 14, 15

Cleveland Clinic Found. v. True Health Diagnostics LLC,
  859 F.3d 1352 (Fed. Cir. 2017) .................................................................................................. 7

Content Extraction & Transmission LLC v. Wells Fargo Bank, Nat’l Ass’n,
  776 F.3d 1343 (Fed. Cir. 2014) ........................................................................................ 6, 8, 14

Dealertrack, Inc. v. Huber,
  674 F.3d 1315 (Fed. Cir. 2012) ................................................................................................ 15

Elec. Power Grp., LLC v. Alstom S.A.,
  830 F.3d 1350 (Fed. Cir. 2016) ............................................................................................ 8, 15

Enfish, LLC v. Microsoft Corp.,
  822 F.3d 1327 (Fed. Cir. 2016) ................................................................................................ 10

In re TLI Commc’ns LLC Patent Litig.,
   823 F.3d 607 (Fed. Cir. 2016) ........................................................................................ 9, 10, 11




                                                                     ii
     Case: 1:22-cv-00621 Document #: 33 Filed: 06/08/22 Page 4 of 20 PageID #:402




Intell. Ventures I LLC v. Cap. One Bank (USA),
   792 F.3d 1363 (Fed. Cir. 2015) .................................................................................................. 8

Internet Patents Corp. v. Active Network, Inc.,
   790 F.3d 1343 (Fed. Cir. 2015) .................................................................................................. 8

IPA Techs., Inc. v. Amazon.com, Inc.,
  307 F. Supp. 3d 356 (D. Del. 2018) .......................................................................................... 10

Mayo Collaborative Servs. v. Prometheus Lab’ys, Inc.,
 566 U.S. 66 (2012) .................................................................................................................. 2, 8

Realtime Data LLC v. Array Networks Inc.,
  537 F. Supp. 3d 591 (D. Del. 2021) ............................................................................................ 7

RecogniCorp, LLC v. Nintendo Co.,
  855 F.3d 1322 (Fed. Cir. 2017) ............................................................................................ 8, 14

SAP America, Inc. v. InvestPic, LLC,
  898 F.3d 1161 (Fed. Cir. 2018) .................................................................................................. 3

Secured Mail Sols. LLC v. Universal Wilde, Inc.,
  873 F.3d 905 (Fed. Cir. 2017) .................................................................................................... 7

Simio, LLC v. FlexSim Prods., Inc.,
  983 F.3d 1353 (Fed. Cir. 2020) .................................................................................... 10, 12, 13

Two-Way Media Ltd. v. Comcast Cable Comms., LLC,
  874 F.3d 1329 (Fed. Cir. 2017) ......................................................................................... passim

Ultramercial, Inc. v. Hulu, LLC,
  772 F.3d 709 (Fed. Cir. 2014) .................................................................................................... 7

Statutes

35 U.S.C. § 101 ........................................................................................................................... 1, 7

Rules & Regulations

Fed. R. Civ. P. 12(b)(6)................................................................................................................... 7

Fed. R. Civ. P. 12(c) ................................................................................................................... 1, 7




                                                                      iii
     Case: 1:22-cv-00621 Document #: 33 Filed: 06/08/22 Page 5 of 20 PageID #:403




       Defendant Motorola Mobility LLC (“Defendant”) moves for partial judgment on the

pleadings under Rule 12(c) of the Federal Rules of Civil Procedure. Defendant seeks judgment in

its favor on four of the five counts of the Complaint because Counts I-IV assert infringement of

patent claims that are patent-ineligible under 35 U.S.C. § 101 (“Section 101”). It is well-settled

that patent claims reciting abstract ideas may be addressed and found invalid on the pleadings

alone. Accordingly, for at least the reasons below, Defendant respectfully requests that the Court

find that the claims at issue in Counts I-IV are invalid for reciting patent-ineligible subject matter,

and dismiss those Counts, which will narrow the patents and claims at issue in this case.

I.     Summary of Argument

       Plaintiff Buffalo Patents, LLC (“Plaintiff”) asserts five patents. The first four patents1 (the

“VOIP Patents”) are related to each other, and are the subject of Counts I-IV. D.I. 1. The VOIP

Patents claim “methods and systems for transmitting voice information to an end user in a digital

format based on a network protocol.” D.I. 1, ¶ 9. The VOIP Patents claim the abstract idea of

sending audio data contained in one packet that is addressed according to one format, where that

packet in turn is contained within a second packet that is addressed according to a second format.

D.I. 1-1, 8:54-58.

       The purported invention claimed here thus amounts to sending a data packet within another

data packet wirelessly and then over the Internet. As the VOIP Patents acknowledge, data packets

are nothing more than envelopes -- ubiquitous mechanisms of transmitting digital data that

routinely carry other packets of data. Id., 1:15-18. Thus, the claimed invention is akin to sending


1
 Counts I-IV respectively assert U.S. Patent Nos. 7,187,670 (“the ‘670 Patent”) (D.I. 1-1);
7,408,915 (“the ‘915 Patent”) (D.I. 1-2); 8,611,328 (“the ‘328 Patent”) (D.I. 1-3); and 9,001,816
(“the ‘816 Patent”) (D.I. 1-4). All four patents share a common specification, so all specification
citations herein are to the ‘670 Patent. They are defined as the VOIP Patents because they relate
to the well-known Voice Over Internet Protocol used for communication between digital
devices.


                                                  1
    Case: 1:22-cv-00621 Document #: 33 Filed: 06/08/22 Page 6 of 20 PageID #:404




an envelope addressed to the Courthouse, with a second envelope inside the first that is addressed

to a specific Judge’s Chambers. In this example, the first envelope would be addressed according

to conventional mailing address protocols, e.g., the business address of the Courthouse, whereas

the second envelope within the first is addressed according to internal protocols, e.g., the Judge’s

name and Chambers information, such as a specific room number.

       Further, the purported invention contains no new machine or new way of using old

machines, as the law requires to avoid invalidity under Section 101. Rather, the claims generically

recite well-known and conventional “means” for converting sound to digital data and then (1)

placing that data into packets (envelopes) for transmission over the Internet; and (2) placing those

packets into other packets (envelopes) that can be sent via standard wireless transmission

protocols, such as Bluetooth, WiFi, or the like. See, e.g., Claim 1 of the ‘670 Patent; D.I. 1-1, Col.

13. In other words, they use standardized equipment and conventional functions to convert data

from one form to another and package that data for transmission using standard protocols.

       Under the Mayo/Alice framework for determining whether something is patent-eligible

under Section 101, these claims fail. See Alice Corp. Pty. Ltd. v. CLS Banks Int’l, 573 U.S. 208,

217-18 (2014) (“In Mayo, … we set forth a framework for distinguishing patents that claim laws

of nature, natural phenomena, and abstract ideas from those that claim patent-eligible applications

of those concepts. First, we determine whether the claims at issue are directed to one of those

patent-ineligible concepts. If so, we then ask, ‘[w]hat else is there in the claims before us?’ …. We

have described step two of this analysis as a search for an ‘inventive concept.’”); Mayo

Collaborative Servs. v. Prometheus Lab’ys, Inc., 566 U.S. 66, 77-80 (2012) (Section 101 “contains

an important implicit exception” for “laws of nature, natural phenomena, and abstract ideas”).




                                                  2
      Case: 1:22-cv-00621 Document #: 33 Filed: 06/08/22 Page 7 of 20 PageID #:405




        Courts are encouraged to resolve patent eligibility questions on the pleadings where, as

here, it is readily apparent that the asserted claims are patent-ineligible. SAP America, Inc. v.

InvestPic, LLC, 898 F.3d 1161, 1163 (Fed. Cir. 2018) (upholding district court’s finding that

claims are patent-ineligible on motion for judgment on the pleadings). No discovery or claim

construction ruling is necessary to confirm the VOIP Patents claim the abstract idea of embedding

one packet in another packet, without any inventive additions. Every claim of the VOIP Patents is

patent ineligible, and the Court should grant judgment in Defendant’s favor as to Counts I-IV.

II.     Factual Summary

        On February 4, 2022, Plaintiff filed the instant Complaint asserting infringement of the

VOIP Patents and one other patent by Defendant. D.I. 1. Notably, the Complaint does not plead

any factual allegations that the VOIP Patents claim patent-eligible subject matter.

        A.     Summary of the VOIP Patents

        The ‘670 Patent was filed in September of 2001, and is the parent application for the other

three VOIP Patents, which all share the same specification and figures, and are generally directed

to formatting and transmitting audio signals to a desired receiver over a wireless network. See,

e.g., D.I. 1-1, 7:1-9. More specifically, the VOIP Patents describe a portable communications

terminal that utilizes the Internet to make and receive telephone calls in any location where there

is Internet/network access (a system known as IP telephony). Id. at 3:63-65. The VOIP Patents

describe IP telephony as a low-cost alternative to ordinary telephone systems, and state that IP

telephony systems convert “speech information into and from a suitable digital format, which is

divided into data packets that are transported via the Internet.” Id. at 1:13-17. The VOIP Patents

further describe that IP telephony systems send data packets according to standard

Internet/network protocols to an intermediary (a “connecting unit” or “server”) on the




                                                 3
    Case: 1:22-cv-00621 Document #: 33 Filed: 06/08/22 Page 8 of 20 PageID #:406




Internet/network, which can then pass the information in the data packets to the desired receiver.

Id. at 4:40-49. Thus, users can make telephone calls without a cellular network. Id. at 4:6-12.

       The VOIP Patent claims are directed to the abstract idea of embedding one data packet

formatted for Internet transmission (an IP data packet) into a second data packet formatted for

wireless transmission to a router (wireless transmission packet), which unpacks the IP data packet

from the wireless packet and sends the IP packet across the Internet. The description summarizes

the abstract concept noting digitized audio data is “embedded in a transmission format in

accordance with wireless communication protocol e.g. also embedded in packet format.” Id., 8:54-

58. The claims do not specify what components are used for the claimed data conversion,

transmission, or reception, and the specification only identifies a generic computer with the

following components, each of which simply performs its conventional, well-known function:

 Converting means                     A component that takes audio files and turns them into a
                                      digital format that can be transmitted electronically (or
                                      coverts digital to sound). D.I. 1-1, 8:7-17.
 Protocol means                       A general purpose microprocessor that places the digital
                                      file into a packet to transmit the data across the Internet (or
                                      unpacks the digital file from the packet). Id. at 8:35-39.
 Wireless communications means        A transceiver connected to wireless devices that places the
                                      packets for transmission over the Internet into wireless
                                      transmission packet (or unpacks the wireless packet. Id.,
                                      8:59-65.

       Nowhere do the VOIP Patents describe “audio means,” “converting means,” “protocol

means,” or “wireless communications means” as any specialized component, structure, or method

for performing the functions described. Nor do the VOIP Patents describe the steps necessary to

perform these standardized functions. In fact, the VOIP Patents describe numerous well-known

prior art devices capable of digitizing audio data and transmitting it wirelessly (id., 1:19-2:44) and

are wholly agnostic as to the technology used to implement the basic idea: one packet containing

audio data is embedded in a second packet in a wireless transmission format. Id., 8:54-58.



                                                  4
    Case: 1:22-cv-00621 Document #: 33 Filed: 06/08/22 Page 9 of 20 PageID #:407




       B.      Claims of the VOIP Patents

       The VOIP Patents all claim the same patent-ineligible subject matter in similar terms. For

example, Claim 8 of the ‘328 Patent recites the abstract idea by simply stating:

       A method comprising:

       converting a first signal representing detected sound to first digital data;

       converting the first digital data into one or more first data packets that accord to a
       network protocol of a first network;

       embedding the one or more first data packets into first wireless data that accords
       to a network protocol of a new field communication network; and

       transmitting the first wireless data via the near field communication network in
       accordance with the network protocol of the second network.

D.I. 1-3, 13:19-30.

       Likewise, claim 1 of the ‘816 patent recites the same abstract idea as an apparatus:

       a wireless component configured to receive, via a near field network, wireless
       data that is formatted according to a first network protocol, wherein the wireless
       data comprises a data packet formatted according to a second network protocol,
       and wherein the wireless unit is further configured to extract the data packet from
       the wireless data; and

       an audio component configured to generate a sound based on the data packet.

D.I. 1-4, 12:52-61.

       Claim 13 of the ‘670 Patent, while more verbose than the other claims, merely recites a

method comprising the same steps using generic “means” for performing generic processing:

       converting said electrical signal into transmission data, representing sound for
       transmission, in a suitable data format, and converting received data, representing
       received sound, in said suitable data format into said first electrical signal, by
       converting means, and
                                                 ***
       handling/controlling communication by said received and transmission data in
       accordance with a standardized network protocol and embedding and extracting
       said transmission and received data, in/from a first data packet format
       according to said standardized network protocol, by protocol means,




                                                 5
   Case: 1:22-cv-00621 Document #: 33 Filed: 06/08/22 Page 10 of 20 PageID #:408




       receiving/sending by wireless near field communication means, of said received
       data or said transmission data in said first data packet format from/to said protocol
       means, embedding said transmission data in said first data format received from
       said protocol means in a wireless second data format and extracting said
       received data in said first data format from said wireless second format,
       communicating, by said wireless near field communication means of said
       received data or said transmission data embedded in said wireless second data
       format with a connecting unit communicating in said wireless second data format
       with a connecting unit communicating in said wireless second data format and to
       establish a connection to a network according to said standardized network
       protocol, whereby the resulting data exchange between the wireless near field
       communication means and the connecting unit consists of packets in said first
       data packet format embedded in said wireless second data format.

D.I. 1-1, 15:35–16:2 (emphasis added).

       Claim 17 of the ‘915 Patent again recites the same concept, but specifies a well-known data

packet format for use in the wireless leg of the packet journey: “the wireless near field

communications means embedding said transmission data in said data packet format received from

said protocol means in a WiFi or IEEE 802.11 format….” D.I. 1-2, 14:28-60.

       The VOIP Patents claim both apparatuses (or things) for performing data transmission

(system claims) and methods (or steps) for performing data transmission (method claims). But this

claim structure difference does not change what the claims cover or this analysis. “[S]ystem claims

that closely track method claims and are grounded by the same meaningful limitations will

generally rise and fall together.” Accenture Glob. Servs., GmbH v. Guidewire Software, Inc., 728

F.3d 1336, 1341 (Fed. Cir. 2013); Alice, 573 U.S. at 226 (“the system claims are no different from

the method claims in substance”). Further, courts can fully resolve issues under Section 101 based

on “representative claims” where the remaining claims are “substantially similar and linked to the

same abstract idea.” Content Extraction & Transmission LLC v. Wells Fargo Bank, Nat’l Ass’n,

776 F.3d 1343, 1348-49 (Fed. Cir. 2014) (citation omitted). Here, the four claims recited above all

contain the operable language of every claim of the VOIP patents: inserting audio data into a first




                                                6
   Case: 1:22-cv-00621 Document #: 33 Filed: 06/08/22 Page 11 of 20 PageID #:409




data packet having a protocol addressed in one format and then placing that first packet inside a

second data packet having a protocol addressed in a second format.

III.   Legal Standard

       A.      Rule 12(c) Is the Proper Procedural Vehicle to Dismiss Counts I-IV

       Patent eligibility may be properly resolved on the pleadings. See, e.g., A. Zahner Co. v.

Hendrick Metal Prods, LLC, 328 F. Supp. 3d 870, 878 (N.D. Ill. 2018) (holding claims invalid for

claiming ineligible subject matter on motion for judgment on the pleadings); Atos, LLC v. Allstate

Ins. Co., 2021 WL 6063963, *5-6 (N.D. Ill. Dec. 22, 2021). The Federal Circuit has “repeatedly

affirmed § 101 rejections at the motion to dismiss stage, before claim construction or significant

discovery.” Cleveland Clinic Found. v. True Health Diagnostics LLC, 859 F.3d 1352, 1360 (Fed.

Cir. 2017). “Resolving eligibility on the pleadings minimizes ‘expenditure of time and money by

the parties and the court’ and ‘protects the public’ from illegitimate patents.” Realtime Data LLC

v. Array Networks Inc., 537 F. Supp. 3d 591, 605 (D. Del. 2021) (quoting Ultramercial, Inc. v.

Hulu, LLC, 772 F.3d 709, 719 (Fed. Cir. 2014)).

       A motion for judgment on the pleadings is governed by the same standards as a Rule

12(b)(6) motion. Zahner, 328 F. Supp. 3d. at 878. While the pleadings are construed in a light most

favorable to the non-moving party, the Court need not accept threadbare recitals supported by mere

conclusory allegations. Id. (quoting Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)). Specifically, “a

court need not ‘accept as true allegations that contradict matters properly subject to judicial notice

or by exhibit,’ such as the claims and the patent specification.” Secured Mail Sols. LLC v.

Universal Wilde, Inc., 873 F.3d 905, 913 (Fed. Cir. 2017) (citation omitted).

       B.      Patent-Ineligible Subject Matter under Section 101 of the Patent Act

       As the Supreme Court confirmed in Alice, “[l]aws of nature, natural phenomena, and

abstract ideas” are not patent eligible under Section 101. 573 U.S. at 216. Under Alice, courts must


                                                  7
   Case: 1:22-cv-00621 Document #: 33 Filed: 06/08/22 Page 12 of 20 PageID #:410




apply a two-step framework “for distinguishing patents that claim…abstract ideas from those that

claim patent-eligible applications of those concepts.” Id. at 217.

       Alice step one requires determining “whether the claims at issue are directed to a patent-

ineligible concept.” Id. at 218; Elec. Power Grp., LLC v. Alstom S.A., 830 F.3d 1350, 1353 (Fed.

Cir. 2016). This requires “looking at the ‘focus’ of the claims, their ‘character as a whole,’” to

determine if they are directed to excluded subject matter, such as an abstract concept. Id., at 1353.

“The inquiry often is whether the claims are directed to ‘a specific means or method’ for improving

technology or whether they are simply directed to an abstract end-result.” RecogniCorp, LLC v.

Nintendo Co., 855 F.3d 1322, 1326 (Fed. Cir. 2017) (citation omitted) (emphasis added). Likewise,

“[c]laims directed to generalized steps to be performed on a computer using conventional computer

activity are not patent eligible.” Two-Way Media Ltd. v. Comcast Cable Comms., LLC, 874 F.3d

1329, 1337 (Fed. Cir. 2017) (citing Internet Patents Corp. v. Active Network, Inc., 790 F.3d 1343,

1346 (Fed. Cir. 2015)). Further, claims that describe concepts “long-practiced” have been found

directed to abstract ideas under Alice step one. Intell. Ventures I LLC v. Cap. One Bank (USA),

792 F.3d 1363, 1369-70 (Fed. Cir. 2015).

       Alice step two requires looking at whether there is an “‘inventive concept’ sufficient to

‘transform’ the claimed abstract into a patent-eligible application.” Alice, 573 U.S. at 221 (quoting

Mayo, 566 U.S. at 73). There is nothing inventive about implementing an abstract idea using “well-

understood, routine, conventional activit[ies] previously known to the industry.” Id. at 225

(alternation in original) (citation omitted). Further, claims limited to a particular environment does

not add any inventive concept. Content Extraction, 776 F.3d at 1348. Rather, “an inventive concept

must be evident in the claims.” RecogniCorp, 855 F.3d at 1327.




                                                  8
   Case: 1:22-cv-00621 Document #: 33 Filed: 06/08/22 Page 13 of 20 PageID #:411




IV.    Argument

       The VOIP Patents claim an abstract idea without adding the requisite “something more”

required for a valid claim under the two-part Alice test. Alice, 573 U.S. at 217. First, the claims,

whether articulated as a method or system, require nothing more than: (1) putting an audio file into

a first data packet for Internet transmission; and (2) placing that first packet in a second packet for

wireless transmission. See, e.g., ‘670 Patent, cl. 13; ‘915 Patent, cl. 17; ‘328 Patent, cl. 8; ‘816

Patent, cl. 1. Again, this is simply the idea of sending a letter to a specific judge at the Courthouse

by (1) placing the letter in an envelope addressed to that judge’s Chambers, and (2) placing that

envelope inside another envelope addressed to the Courthouse. Moreover, the subject of these

claims is consistent with what other courts typically find to be an abstract idea.

       Second, neither the claims nor the specification provide any specifics, limits, or bounds as

to how the abstract idea of data manipulation and transmission is accomplished; they recite only

generic components that function in their common and conventional manner to arrive at precisely

how the specification sums up its purported invention—placing one standardized packet inside

another. See D.I. 1-1, 8:54-58 (describing how “the IP packets are embedded in a transmission

format in accordance with wireless communication protocol.”). As such, the claims recite an

abstract idea using functional language and reference to generic computer components, which is

insufficient to make the claims patent-eligible. See, Two-Way Media, 874 F.3d at 1338 (“the use

of generic computer components to carry out the recited abstract idea … is not sufficient”); Affinity

Labs of Tex., LLC v. Amazon.com Inc., 838 F.3d 1266, 1271 (Fed. Cir. 2016) (“The features set

forth in the claims are described and claimed generically rather than with the specificity necessary

to show how those components provide a concrete solution to the problem addressed by the

patent.”); In re TLI Commc’ns LLC Patent Litig., 823 F.3d 607, 611 (Fed. Cir. 2016) (despite




                                                  9
   Case: 1:22-cv-00621 Document #: 33 Filed: 06/08/22 Page 14 of 20 PageID #:412




reciting “concrete, tangible components,” claims ineligible where “the physical components

merely provide[d] a generic environment in which to carry out the abstract idea”).

        A.      Alice Step 1: The Claims Are Directed to An Abstract Idea

        Under Alice step one, there is no specific definition of “abstract idea.” Rather, the Federal

Circuit and Supreme Court “have found it sufficient to compare claims at issue to those claims

already found to be directed to an abstract idea in previous cases.” Enfish, LLC v. Microsoft Corp.,

822 F.3d 1327, 1334 (Fed. Cir. 2016). “And where, as here, ‘the abstract idea tracks the claim

language and accurately captures what the patent asserts to be the focus of the claimed advance…,

characterizing the claim as being directed to an abstract idea is appropriate.’” Simio, LLC v.

FlexSim Prods., Inc., 983 F.3d 1353, 1360 (Fed. Cir. 2020). Indeed, when the alleged invention

implements known practices in a new environment, a claim is drawn to an abstract idea unless the

invention is a solution to a problem created by combining the practices with the new environment.

Id. But that is not the case here.

        The claims of the VOIP Patents are directed to the abstract idea of (1) packaging audio data

into a first data packet having a first standardized transmission format; and then (2) packaging the

first data packet into a second data packet having a second standardized transmission format. D.I.

1-1, 8:54-58. This is nothing more than the known practices of collecting, processing, converting,

and transmitting data, which courts have repeatedly found ineligible. As the specification

acknowledges, “[t]he wireless connection is just used for transferring the data packets to the

connecting unit in an expedient manner.” Id., 3:38-47. Use of known data manipulation techniques

is consistently found ineligible as abstract. For example, in IPA Techs., Inc. v. Amazon.com, Inc.,

converting audio data to digital format and then transmitting the digitized data to a user were found

patent ineligible. 307 F. Supp. 3d 356, 368 (D. Del. 2018). Similarly, in In re TLI Communications

LLC Patent Litigation, the Federal Circuit found claims directed to recoding digital images,


                                                 10
    Case: 1:22-cv-00621 Document #: 33 Filed: 06/08/22 Page 15 of 20 PageID #:413




transmitting the recoded data, receiving and classifying the data, and storing the data based on its

classification to be an abstract idea. 823 F.3d 607, 611-12 (Fed. Cir. 2016) (claims “are directed

to the use of conventional or generic technology in a nascent but well-known environment, without

any claim that the invention reflects an inventive solution to any problem presented by combining

the two”). The same result should be reached here.

       Further, packaging a first data packet into a second data packet is merely encoding the

audio data into multiple formats,2 which the Federal Circuit has also found to be patent ineligible.

In Adaptive Streaming Inc. v. Netflix, Inc., 836 F. Appx. 900 (Fed. Cir. 2020), the Federal Circuit

found ineligible claims to “systems that can receive a video signal in one format and broadcast it

to at least one device calling for a different format.” Id. at 901. As the Federal Circuit found, “basic

communication practices,” such as “the ideas of encoding and decoding image data and of

converting formats, including when data is received from one medium and sent along through

another, are by themselves abstract ideas.” Id. at 904.

       The logic of these holdings compels the same conclusion here. The claims of the VOIP

Patents recite transmitting audio data in packets across a network and encoding data in multiple

formats. They do not claim an improvement to the creation, transmission, or receipt of such data

packets or performance of those functions. Nothing in the specification suggests the claims extend

beyond known, common, standardized practices. To the contrary, the specification admits that all

of the components are conventional and the methods of receiving, interpreting, and performing the




2
 Encoding audio data is the process where data is put into a standardized, compressed digital
form for transmission that will be understood by devices that send or receive data. See, e.g., D.I.,
1-1, 8:18-28. This is further summarized above at p. 3, in discussing the claimed “converting
means.”


                                                  11
   Case: 1:22-cv-00621 Document #: 33 Filed: 06/08/22 Page 16 of 20 PageID #:414




function are conventional. Supra § II.A. And nothing suggests the use of known practices in a new

environment somehow overcame a problem in using the know practices.

       In fact, the specification admits systems existed where a device wirelessly transmitted

audio data to a base station, which in turn transmitted that data using the IP protocol. Id., 1:64-

2:20. These prior art systems packaged audio data into a data packet of a first format which was

sent to a base station and then packaged that data packet into a packet of a second format using the

IP protocol, just as the patent claims here would function. Id. And the alleged improvement of the

VOIP Patents over these prior art systems—the removal of “specialized equipment”—is not

recited in any of the VOIP Patents’ claims. Rather, the claims do not require any particular

equipment and instead broadly and generically recite the concept performed in a mechanism-

agnostic manner. This confirms the claims’ abstract nature. See Simio, 983 F.3d at 1360 (“[T]he

abstract idea tracks the claim language and accurately captures what the patent asserts to be the

focus of the claimed advance.”) (citations omitted).

       Likewise, while the specification asserts a wireless cellular connection between a terminal

(mobile device) and a base station to transmit the audio data over IP protocol may be

disadvantageous because it “requires a greater power source adding to the minimum size of a

device with a useful time-span between re-charge,” the claims do not require any specialized

method or component for transmission that addresses this problem. Id., 2:33-43. Rather, they only

recite “wireless communication means,” which the specification describes generically as radio-

frequency protocol, Bluetooth protocol, infrared protocol, “or another wireless communications

protocol.” Id., 7:14-21. Thus, the claims are agnostic as to how the generic function of putting one

data packet inside another for transmission is accomplished. See, Simio, 983 F.3d at 1360.




                                                12
   Case: 1:22-cv-00621 Document #: 33 Filed: 06/08/22 Page 17 of 20 PageID #:415




       And as the specification further makes clear, each of the data manipulation steps or generic

“means” for performing the data manipulation was known:

      The conversion of sound to a digital data packet was known. Id., 8:7-22 (“The converting
       means [] comprise A/D and D/A converters and/or a codec (coder and decoder) for
       converting between analog and digital sound.”).

      Placing audio data in a data packet for Internet transmission was known. Id., 8:29-44
       (“protocol means []/protocol stack which provide for the handling of data/information in
       connection with transmission and reception of data. The protocol which is preferably used
       is the TCP/IP….”).

      Wireless transmission of data in packets over RF, Bluetooth, or WiFi was known. Id.,
       8:45-65 (“the communication mean [] use an RF (Radio Frequency) connection in
       accordance with e.g. Bluetooth, DECT, IEEE802.11 or other wireless protocols”).

Yet the VOIP Patents broadly claim the idea of placing audio data in data packets that are placed

within another data packet for transmission. Neither the claims nor the specification address

“how” this is done, other than the use of standardized protocols, or how the wireless transmission

of IP packetized data in these claims is any different than the well-known concept of wireless data

transmission. Simio, 983 F.3d at 1360. This confirms the claims are directed to an abstract idea.

       The functional language in the claims likewise confirms they are directed to an abstract

idea rather than patent-eligible subject matter. The Federal Circuit in Two-Way Media found

similar functional claims to be abstract. The claims there recited a method of transmitting packets

of information over a communications network comprising: converting information into streams

of digital packets; routing the streams to users; controlling the routing; and monitoring the

reception of packets by the users merely recited a series of abstract steps (“converting,” “routing,”

“controlling,” “monitoring,” and “accumulating records”) using “result-based functional

language” without the means for achieving any purported technological improvement. 874 F.3d at

1336-37 (citation omitted). The court held them to be invalid under Alice. Id. at 1338. That is

precisely how the claims here are worded: “converting said electrical signal into transmission



                                                 13
   Case: 1:22-cv-00621 Document #: 33 Filed: 06/08/22 Page 18 of 20 PageID #:416




data”; “handling/controlling communication…in accordance with standardized network protocol”;

“receiving/sending, by wireless near field communication means, of said received data.” D.I. 1-1,

cl. 13; see also ‘915 Patent, cl. 17; ‘328 Patent, cl. 8; ‘816 Patent, cl. 1. Like the claims in Two-

Way, the claims here broadly recite results-based language without any specific way to achieve a

technological improvement.

       B.      Under Alice Step 2, The Claims Lack an Inventive Concept

       There is nothing inventive about implementing an abstract idea using “well-understood,

routine, conventional activit[ies] previously known to the industry.” Alice, 573 U.S. at 225

(alteration in original) (citation omitted). Further, limiting a claim to a particular environment does

not add any inventive concept to save an abstract claim. Content Extraction, 776 F.3d at 1348. “To

save a patent at step two, an inventive concept must be evident in the claims.” RecogniCorp, 855

F.3d at 1327. Here, whether considered individually or as an ordered combination, the claim

limitations impart no inventive concept.

   The claims recite the following generic components and functions:

       (1) “converting means” for “converting received data, representing received sound, in said
       suitable data format into said first electrical signal” (D.I. 1-1, 15:40-45);

       (2) “protocol means” for “embedding and extracting said transmission and received data,
       respectively, in/from a first data packet format according to standardized network
       protocol” (Id., 15:46-50); and

       (3) “wireless near field communication means” for “embedding said transmission data in
       said first data format received from said protocol means in a wireless second data format
       and extracting said received data in said first data format from said wireless second
       format” (Id., 15:52-59).

       Components recited in purely functional terms and described in the specification as

general-purpose computer parts known to do these functions (see, e.g., D.I. 1-1, 8:42-44 (“The

protocol means [] may e.g. be comprised by a special- and/or general purpose microprocessor,

logic circuit, etc.”)) do not provide an inventive concept. See British Telecommunications PLC v.


                                                  14
    Case: 1:22-cv-00621 Document #: 33 Filed: 06/08/22 Page 19 of 20 PageID #:417




IAC/InterActiveCorp, 381 F. Supp. 3d 293, 316-71 (D. Del. 2019) (holding claims ineligible

because the described data visualization tool was not inventive and techniques described in

specification were known).

       Courts also routinely invalidate patents where, as here, the conventional computer elements

lack any special or inventive programming to implement the claimed methods and systems. See

Dealertrack, Inc. v. Huber, 674 F.3d 1315, 1333 (Fed. Cir. 2012) (finding a patent invalid where

it “does not specify how the computer hardware and database are specially programmed to perform

the steps claimed” (citation omitted)). Similarly, in Two-Way the Federal Circuit found claims

ineligible because “the claim refers to certain data ‘complying with the specifications of a network

communication protocol’ and the data being routed in response to one or more signals from a user,

without specifying the rules forming the communication protocol or specifying parameters for the

user signals.” 874 F.3d at 1339.

       The VOIP Patent claims further are silent as to any non-generic way in which the first

packet or the second packet are created. Instead, the claims confirm these steps are performed by

conventional computer components “according to said standardized network protocol” or

“wireless second data format.” D.I. 1-1, cl. 13. Creating data packets using protocols that the

claims admit were “standardized” is not inventive. “Nothing in the claims, understood in light of

the specification, requires anything other than off-the-shelf, conventional computer, network, and

display technology” for transmitting and receiving a data file. Elec. Power, 830 F.3d at 1355.

       In sum, the claims3 of the VOIP Patents use only well-known components and techniques

to create data packets and lack any inventive concept, making them ineligible under Alice step two.



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 Nothing in the dependent claims changes this analysis. For example, claim 14 of the ‘670 Patent
merely adds that the first protocol is the well-known standard TCP/IP, which is insufficient to
save the claim. See British Telecom., 381 F. Supp. 3d at 317-18.

                                                15
     Case: 1:22-cv-00621 Document #: 33 Filed: 06/08/22 Page 20 of 20 PageID #:418




V.      Conclusion

        Motorola Mobility respectfully requests judgment on the pleadings as to Counts I-IV.




Dated: June 8, 2022                    Respectfully submitted,

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                                               16
